     Case 3:17-cv-01539-JLS-WVG Document 51 Filed 09/11/19 PageID.557 Page 1 of 2


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 8                             UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    STRATEGIC OPERATIONS, INC.,                         Case No.: 17-CV-01539-JLS-WVG
12                                       Plaintiff,
                                                          ORDER ON JOINT MOTION FOR
13    v.                                                  PROTECTIVE ORDER
14    BREA K. JOSEPH, an individual;
      KASEY EROKHIN, an individual; KBZ
15
      FX, INC., an unknown business entity,
16    and KBZ FX, INC., a California
      corporation,
17
                                      Defendants.
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           On September 9, 2019, the Parties filed a joint motion for a protective order, which
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     was styled as a Stipulated Protective Order (Doc. No. 50). Having reviewed the Parties’
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     submission, the Court finds that the joint motion is compliant with the applicable rules,
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     including this Court’s Civil Chambers Rules. Accordingly, the Court GRANTS the joint
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     motion for protective order in its entirety.
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           IT IS SO ORDERED.
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     Dated: September 11, 2019
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